Case: 1:24-cv-04835 Document #: 28-4 Filed: 08/23/24 Page 1 of 2 PagelD #:151

Exhibit D
+
Case: 1:24-cv-04835 Document #: 28=4 Etled: 08/23/24 Page 2 of 2 PagelD #:152
——'N > NS

20%

Cee aE U
DTS UETE LD

Sn at
Dee en ped
pee Oe reget a)

Bled al
Pree et ety +3
DEPORT a YUr IO nt)

Fr TU
ie Peal

ON n=

PERV ith EP len)

Grain Direction
Horizontal

Ayigeureysns 10)
yBne3 pila 5] sores ed paiuy Aq. 72 W132
YS) 4nd JO KOOL $1 USI) NO JO %OOL

J
mT)

—
at

oe

Prec

:

HUG ey.

>, 19) BSS
is hy |

od UT Cod a 2 a7.) 1

Pete) dF v1

a

eyilled <i

Boog ding FOnUOD FRIBIC Z-2POZL OS! “EX20VK]]

yy

Ber es es ee

bet Tah ee ur aes eT)

aah) dl ; i a : a") my eel
zone ln « | om w «© ow .

